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- OR\G\NAL

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

 

Civi| Action No. 12-cv-O1381-WYD-KMT
HEATHER CARTER,
P|aintiff,
v.
DAV|D C. LOUCKS, M.D.

Defendant.

 

SPEC|AL VERD|CT FCRM A

 

DO NOT ANSWER TH|S SPEC|AL VERD|CT FORM A |F YOUR FOREPERSON HAS
COMPLETED SPEC|AL VERD|CT FORM B AND ALL JURORS HAVE S|GNED |T.

We, the jury, present our Answers to Questions submitted by the Court, to which
we have all agreed:
1. Did Heather Carter have injuries, damages, or |osses? (Yes or No)

ANSWER: j E 3

2. Was the defendant, David C. Loucks, M.D., negligent? (Yes or No)

ANSWER: l_\_j §§

3. Was the negligence, if any, of the defendant, David C. Loucks, M.D., a

cause of any of the injuries, damages, or losses claimed by the plaintiff? (Yes or No)

ANSWER: N Q

 

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We, the jury t'md for the defendant and award no damages to the plaintiff,

Heather Carter.

/Da§d tt%diy of September, 2015.

 

 

Foreperson

 

 

 

 

 

 

 

 

 

 

